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                                      CASE NO. 21-2051
                                    ____________________

                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
                                   ____________________

             JUSTIN ADKINS; JUSTIN BLAKE; EDWIN GLOWACKI; ERIC
               JORDAN; KEVIN PALMER; DENNIS SARGENT; TRAVIS
            THORNSBERRY; MICHAEL WILLIAMS; JOHN BAKER; JAMES
           BLAIN; DEVERY BROWN; JAMES DEAL; JONATHAN JEFFERS;
        ROBERT MOSTELLER; MICHAEL L. POTTER; MICHAEL D. POTTER;
            JESSEE WALLACE; TIMOTHY WITT; JOHN BILLS; MICHAEL
        CLARK; RANDALL CRAYCRAFT; JOHN FRASURE; SAMMY MADDIX;
          JAMES STINNETT; TODD THAYER; MICHAEL CAMPBELL; TONY
            ABDON; THE ESTATE OF CHAD LITTLE; BRANDON ADKINS;
        JACQUELINE MARSHALL; HOMER MAYNARD; SCOTT MORRISON;
         JEREMY NAPIER; SHAWN PATTERSON; MATTHEW WOODS; JOHN
               CARPENTER; QUINCY CHRISTIAN; GREGORY HAMM;
          ETHAN MULLINS; MICHAEL OWENS; JONATHAN ROWE; DANNY
        STEWART; LLOYD WILLIAMS; DAVID MANIS; JOSHUA FERGUSON;
             ERIC SPEAKS; DONALD STEPHENS; JASON BARKER; CHAD
           DOWDY; JERRY FLOCKER; GROVER KELLEY; CHRISTOPHER
           CLAY STILTNER; DENNIS HUTCHINSON; JOSHUA HALL; ZACH
          POTTER; DEANNA LANHAM; SAMUEL PRESTON; BOBBY AKERS;
                               GERALD BARBER,

                                            Plaintiffs – Appellants

                                                          v.

         CSX TRANSPORTATION, INCORPORATED; CRAIG S. HELIGMAN,
         M.D.; GUS THOELE; CURT SHOGREN; MILTON STORM; DELANDO
         JONES; TOM DEANGELO; SHAWN LUSK; ELIZABETH CREEDON;
                           KENNETH RAY EMERSON

                                           Defendants – Appellees
                                    ____________________
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                         Appeal from the United States District Court
                          for the Southern District of West Virginia

                                     ____________________

                                APPELLANTS’ REPLY BRIEF
                                   ____________________

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              Appellants John Baker, Randall Craycraft, Chad Dowdy, Sammy Maddix,

        Danny Stewart, and James Stinnett (“Plaintiffs” or “Appellants”) bring forth the

        following in Reply to Appellees CSX Transportation, Inc., Gus Thoele, Curt

        Shogren, Milton Storm, Delando Jones, Tom Deangelo, Shawn Lusk, Elizabeth

        Creedon, Kenneth Ray Emerson, and Dr. Craig Heligman (collectively “CSX”)

        Answering Brief.

        I.    THE COURT OF APPEALS SHOULD REJECT THE PRIVATE
              SYSTEM OF INJUSTICE IMPOSED BY CSX AND ENDORSED BY
              THE DISTRICT COURT.

              CSX, as did the District Court, asserts that an employer’s subjective reasoning

        for firing its employees provides absolute immunity from legal liability such that the

        subjective reasoning cannot even be weighed against competing facts or considered

        by a factfinder. If this is true then the entire body of employment law in this country

        is rendered meaningless, as is the meaning and effect of Fed. R. Civ. P. 56, and the

        right to a jury trial guaranteed by the Seventh Amendment. U.S. Const. amend. VII.

              Equally offensive to all notions of justice is CSX’s position that the legal

        rights of the Plaintiff-Appellants here were fully and finally adjudicated through a

        contractual process in which the accused have no right to counsel, no right to

        discovery, no prior notice of the charges, there are no rules of evidence or procedure,

        the judge, jury, prosecutor, and witnesses are all employed by the accuser, the




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        intermediate appeals are determined by the accuser, and the highest and final level

        of review is restricted to the record established in this process.

              This is the platform of CSX’s position before this Court, built on the rulings

        of the district court: that CSX doesn’t believe it did anything wrong in firing the

        Appellants; and that its reasoning for firing these employees was nevertheless

        vindicated through a process that the Company controls from start to finish. In

        signing off on this aberration of justice and depriving the Appellants of the

        opportunity to return to their livelihoods, vindicate their reputations, and seek

        recompense for themselves and their families, the district court violated one of the

        more fundamental tenets of the civil justice system – deciding issues of fact and

        credibility that must be reserved for a jury.

              This Court should reject the private injustice system imposed on Appellants

        by CSX and endorsed by the district court. The judgment should be vacated, and

        the case remanded with instructions, including for a jury trial.

        II.   IT IS BEYOND DISPUTE THAT THE DISTRICT COURT INVADED
              THE PROVINCE OF THE JURY AS A FACT-FINDER BY
              RESOLVING ISSUES OF MATERIAL FACT AND MAKING
              CREDIBILITY DETERMINATIONS IN FAVOR OF CSX.

              Among the foremost tenets of the civil justice system is that issues of fact and

        credibility are to be decided by a jury. See Fed. R. Civ. P. 56; U.S. Const. amend.

        VII. And while perhaps not the most titillating of appellate issues, it is elemental to

        the rights of litigants and among the most detectable where, as here, the District


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        Court spotlights its fact-finding and credibility determinations through phraseology

        such as “the Court does not believe Plaintiffs’ arguments” and “it is clear that [Dr.

        Heligman] believed that the circumstances indicated fraudulent acts.” JA 2701-2702

        (emphasis added). That the District Court resolved such issues of material fact and

        credibility in favor of CSX while failing to address each party’s motion separately

        mandates reversal.

              A.     The District Court Clearly Invaded The Province Of The Jury In
                     “Believing” CSX’s Arguments Over Those Of The Plaintiffs’ On
                     Summary Judgment.

              In granting summary judgment to CSX on Plaintiffs’ FMLA Retaliation,

        ERISA, West Virginia Human Rights Act, and Rehabilitation Act claims, the

        District Court undeniably resolved issues of material fact in favor of CSX and

        explicitly made credibility determinations regarding the evidence while failing to

        address the facts of each individual party.

              This is specifically true because “a party’s mental state,” such as what they

        believed or did not believe, “is inherently a question of fact which turns on

        credibility.” United States v. Leak, 123 F.3d 787, 794 (4th Cir. 1997)(citing U.S. v.

        Dollar Bank Money Market Account, 980 F.2d 233, 240 (3d Cir. 1992)). The Fourth

        Circuit has repeatedly emphasized that summary judgment is inappropriate in cases

        where states of mind “are decisive as elements of a claim or a defense.” U.S. v. E.




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        Fairmont Ave., Baltimore, Md., 722 F. Supp. 1273, 1277 (D. Md. 1989) (citing

        Charbonnages de France v. Smith, 597 F.2d 406, 414 (4th Cir. 1979)).

              Even in cases where the judge is of opinion that he will have to direct a
              verdict for one party or the other on issues that have been raised, he
              should ordinarily hear the evidence and direct the verdict rather than
              attempt to try the case in advance on a motion for summary judgment,
              which was never intended to enable parties to evade jury trials or have
              the judge weigh evidence in advance of its being presented.

        Magill v. Gulf Western Industries, Inc., 736 F.2d 976, 979 (4th Cir. 1984). And a

        district court must “rule upon each party’s motion separately and determine whether

        summary judgment is appropriate as to each under the [Federal Rule of Civil

        Procedure] 56 standard.” Norfolk Southern Railway Co. v. City of Alexandria, 608

        F.3d 150, 156 (4th Cir. 2010)(quoting Monumental Paving Excavating, Inc. v. Pa.

        Mfrs.'Ass'n Ins. Co., 176 F.3d 794, 797 (4th Cir. 1999)). Here the District Court

        simply lumped all Plaintiffs’ and causes of action together and accepted that CSX’s

        proffered explanation for firing them applied equally to all. See JA 2701-2702.

              In accepting CSX’s version of events, the District Court held that “the final

        decisionmaker heard more than just Dr. Heligman’s opinions, and Plaintiffs have no

        evidence that the hearing process was somehow pretextual.” JA 2701. But the

        District Court did not identify whom it accepted as a matter of law was the final

        decisionmaker, nor did it cite any evidence of what information the decisionmaker

        did or did not hear or did or did not consider in firing the Plaintiffs. Id. Thus, whether

        the termination decisions were pretextual is impossible to conclusively determine on


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        summary judgment. Further, the District Court made a finding that Dr. Heligman

        “believed the circumstances indicated fraudulent acts” despite undisputed evidence

        and testimony from him that he didn’t have any proof or belief that any of the

        Plaintiffs committed fraud. See Section III, infra. In any event, that analysis is

        fundamentally flawed. On the one hand, the District Court credits Dr. Heligman’s

        “belief” as indicia of a legitimate reason for CSX’s actions but then separates Dr.

        Heligman from the unidentified “ultimate decisionmaker” as evidence against

        Plaintiffs’ case of pretext. JA 2701-2702. It simply cannot be that Dr. Heligman’s

        “belief” is sufficient to establish CSX’s case as a matter of law but that him not being

        the “final decisionmaker” is fatal to Plaintiffs’ case of pretext. If it was Dr.

        Heligman’s “belief” that establishes the basis for CSX’s defense, then there must be

        evidence demonstrating the “final decisionmaker’s” process – yet none is cited by

        the District Court. Id. This alone requires reversal of the judgment.

                Moreover, the District Court swept all Plaintiffs and their individual claims

        into one waste bin without any analysis of their differing factual underpinnings. It

        held:


                Finally, the Court does not believe Plaintiffs’ argument that not all the
                Plaintiffs were subject to furlough is evidence of pretext. Even without
                the furlough notice, the Defendants had sufficient reason to believe that
                the Plaintiffs were improperly seeking leave.




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        Id. at 2701-2702. But it is not the District Court’s province to believe Plaintiff’s

        argument as to what the evidence means, or to determine conclusively that

        “Defendants had sufficient reason to believe that Plaintiffs were improperly seeking

        leave.” In re French, 499 F.3d 345, 354 (4th Cir. 2007)(“In the summary judgment

        context, a court is simply not empowered to make such [credibility]

        determinations.”).

              More importantly however, is that the District Court completely ignored that

        the claimed basis for CSX firing Plaintiffs was that the employees received treatment

        from Dr. Carey or Dr. Johnson around the time that furloughs were announced. See

        CSX Answering Brief at *2 (“That astronomically unlikely confluence of claimed

        off-work injuries—on the heels of furlough notice postings and rumored force

        reductions—led CSXT’s Chief Medical Officer, Dr. Craig S. Heligman, to call for

        investigation.”). CSX undeniably fired Plaintiffs based on a claimed “correlation”

        between submissions of COII forms on behalf of Plaintiffs and the furloughs:

              The COII submissions coincided with CSXT posting furlough notices
              at the Huntington facility and rumors that other force reductions were
              to come. In fact, the furlough list was posted at the mechanical facility
              on June 16—the Friday before Baker, Dowdy, Maddix, and over a
              dozen other employees visited Dr. Johnson (many of them for the first
              time) and received COIIs from him. An employee on medical leave
              while furloughed would receive benefits for up to two years, but if
              furloughed while not on leave would receive just four months of
              continued benefits. In Dr. Heligman’s view, these happenings thus “had
              the potential to explain” the unprecedented influx of near-identical
              COIIs he had received. They contributed to the picture that was



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              developing of an “extremely unique” and potentially suspicious
              scenario.

        CSX Answering Brief at *7-8 (internal citations omitted). Thus, whether Plaintiffs

        were subject to furlough is critical to a pretext analysis and requires a determination

        by a jury. Further, that the District Court dismissed Plaintiffs’ claims by asserting,

        without any evidence or analysis, that “Defendants had sufficient reason to believe

        that the Plaintiffs were improperly seeking leave” is yet another reason that the

        judgment must be vacated.

              Because the District Court’s summary judgment decision was based upon

        credibility determinations, upon resolving issues of material fact in favor of CSX,

        and without analysis of the individual facts of the parties, the judgment must be

        vacated, and the case remanded for a jury trial.

              B.     The District Court Erred In Depriving Plaintiffs’ Of A Jury
                     Determination As To The Credibility Of CSX’s Private System Of
                     Discipline.

              The District Court credited, and CSX argues at length, that the private system

        of discipline it imposed on Plaintiffs affords those employees all the justice they

        should be allowed. See JA 2701-2702; CSX Answering Brief at *9-10. CSX

        specifically leans hard into the claim that a Public Law Board (“PLB”) upheld many

        of the termination decisions. CSX Answering Brief at *12. But federal courts have

        repeatedly recognized that PLB’s do not and cannot determine the legal rights of

        railroad employees because PLB’s exist solely to determine contractual rights as set


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        forth by the applicable collective bargaining agreement. In fact, the decisions of

        PLB’s are not even held to a standard of being “correct.”

              A public law board is limited to evaluating the contractual
              agreement between the union and the railroad. Lyons v. Norfolk &
              Western Ry. Co., 163 F.3d 466, 469 (7th Cir. 1999). Whether the
              decision is correct is irrelevant. Hill, 814 F.2d at 1197. “All that
              matters is that they were interpreting the contract” and not
              “imposing private notions of workplace justice.” Id.

        Skiba v. Ill. Cent. R.R., No. 19 CV 2267, at *17 (N.D. Ill. Mar. 23, 2020)(emphasis

        added). “In other words, the PLB’s decision must be based on the provisions of the

        CBA.” Lyons at 469.

              The Tenth Circuit Court of Appeals very recently emphasized the province of

        a jury in evaluating the private disciplinary system imposed by railroads.

        Considering nearly identical arguments as those of CSX here, the Tenth Circuit held

        that a jury absolutely may find that the discipline process is weighted in favor of

        railroad management and thus militates against the proffered “legitimate” reasons

        for a railroad firing an employee.

              The evidence presented at trial, however, would have allowed the jury
              to find that the hearing process was weighted in favor of BNSF
              management. To begin with, BNSF management determined which
              employees would testify at the hearing in support of the alleged charge
              and paid only those selected employees for their time appearing at the
              hearing. Although the charged employee could request to present his or
              her own witnesses, those BNSF employees were not paid for their time
              appearing at the hearing. A BNSF management employee presided over
              the hearing and effectively acted as the hearing officer. In that role, the
              presiding BNSF management employee questioned the witnesses, ruled
              on objections, and ultimately prepared written findings of fact. The


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               charged BNSF employee could not have legal representation at the
               hearing, and instead had to either proceed pro se or have a union
               representative (non-lawyer) appear on his or her behalf. The presiding
               BNSF management employee's findings of fact were forwarded to
               division management employees and BNSF's Labor Relations
               Department, who determined whether to uphold the alleged charge or
               remove or reduce the charge. In making that determination, the division
               management employees and the Labor Relations Department were
               limited to the record produced at the hearing.

        Fresquez v. BNSF Ry. Co., No. 21-1118, at *46-47 (10th Cir. Nov. 10, 2022).

               It is abundantly clear that no deference or credence should be afforded CSX’s

        private disciplinary system on summary judgment, nor the decisions of any of the

        PLB’s as to the Plaintiffs’ terminations, because such evidence requires credibility

        determinations by a jury.


        III.   CSX DOES NOT NOW HAVE, AND HAS NEVER HAD, ANY
               EVIDENCE TO SUPPORT A BELIEF THAT APPELLANTS
               ENGAGED IN FRAUD OR CONSPIRACY, THAT THEY
               IMPROPERLY RECEIVED BENEFITS, OR OTHERWISE DID
               ANYTHING OTHER THAN OBTAIN MEDICAL TREATMENT.

               In the summer of 2017 CSX launched an unprecedented and wholly

        unsupported campaign claiming that two local chiropractors, Drs. Daniel Carey, II

        and Dr. Shannon Johnson, conspired with their CSX employee patients to falsify

        medical records for the purpose of fraudulently obtaining health benefits. On July

        14, 2017 CSX Chief Medical Officer Dr. Craig Heligman sent the first of a series of

        letters to the U.S. Railroad Retirement Board (RRB), private health insurance

        providers, and the Kentucky and Ohio chiropractic licensing boards accusing the


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        chiropractors of engaging in excessive, inappropriate, and fraudulent treatment

        practices (collectively, the “Heligman Letters”). JA 1697-1698. CSX then charged

        every CSX employee treating with the chiropractors during an undefined timeframe

        with having engaged in dishonesty and fraud and fired them. JA 106. Dr. Heligman

        was the sole witness in each of the disciplinary hearings.

              Prior to sending the Letters and appearing as a witness in the disciplinary

        hearings, Dr. Heligman never evaluated the respective employees, never requested

        that they be examined by another doctor, never reviewed their medical records, and

        never spoke with either Dr. Johnson or Dr. Carey. Daniel J. Carey II, D.C. et al. v.

        CSX Transportation, Inc., et al., 18-cv-00079-HRW, at *7 (E.D. Ky. Jan. 11, 2019).

        Rather, the only “facts” upon which Dr. Heligman seemingly relied upon in sending

        the Letters and testifying against the employees was the doctor’s note submitted to

        CSX on the employees’ behalf by Dr. Carey or Johnson. See Opening Brief at *31-

        33.

              Further, Dr. Heligman is an occupational medicine doctor with no training or

        experience in chiropractic care, is not licensed to practice in Kentucky or Ohio, and

        hasn’t personally treated patients since 2012. JA 949 at 98:4 - 99:3. He therefore

        lacks the qualifications to evaluate, let alone conclusively establish the standard of

        care provided by Drs. Carey and Johnson to their CSX employee patients. In fact,

        his entire job is to rely on the medical information that he receives from providers



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        such as Drs. Carey and Johnson and he admits that it is not his job, nor within his

        ability, to second guess the treatment provided by those outside his area of specialty.

        Id. at 100:18-23; 102:3-18. Yet he did exactly that here.

              Notably, in a lawsuit brought by Drs. Carey and Johnson against the same

        Defendants and based on the same facts as here, United States District Judge Henry

        R. Wilhoit, Jr. sniffed out the unjustifiable actions of Dr. Heligman and CSX:

              The basis for Dr. Heligman’s allegations of excessive treatment and
              fraud were based on nothing more than his own unsupported
              conclusions. Dr. Heligman never evaluated the respective
              employees, never requested that they be examined by another
              doctor, never reviewed their medical records, and never spoke with
              either [Dr. Carey or Dr. Johnson].

        Daniel J. Carey II, D.C. et al. v. CSX Transportation, Inc., et al., 18-cv-00079-

        HRW, at *7 (E.D. Ky. Jan. 11, 2019)(emphasis added). A jury later returned a verdict

        for Drs. Carey and Johnson in that case, finding Dr. Heligman and CSX liable for

        defamation and intentional interference with a business expectancy.1 The findings

        by Judge Wilhoit and the jury verdict in favor of Drs. Carey and Johnson reflect the


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          Upon remand to the Greenup County (Ky.) Circuit Court, this case was tried to a
        jury in September 2022. The jury found Dr. Heligman and CSX liable for defamation
        against Drs. Carey and Johnson in accusing them of fraud and conspiracy by
        submitting false medical reports to CSX, and that Dr. Heligman and CSX
        intentionally interfered with the business relationships or expectancies of Drs. Carey
        and Johnson when CSX refused to accept medical documentation from them on
        behalf of CSX employees. The jury returned a verdict of $22.815 million in favor of
        Drs. Carey and Johnson, jointly and severally against Dr. Heligman and CSX. See
        Daniel Carey, et al. v. CSX Transportation et al., No. 18-CI-00348 (Greenup (Ky.)
        Circuit Court Nov. 9, 2022).

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        utter lack of any evidence underpinning CSX’s position in this case – specifically

        that there was anything suspicious about the forms submitted by Drs. Carey and

        Johnson on behalf of CSX employees; that there was any correlation between those

        seeking treatment with Drs. Carey and Johnson and those who were being

        furloughed; that there was any basis to suspect fraud or conspiracy on behalf of the

        employees or Drs. Carey and Johnson; or that the employees sought or received any

        improper benefits as a result of their treating with Drs. Carey or Johnson.

              These issues of material fact were fully presented to the district court and were

        more than sufficient to meet the standards of Fed. R. Civ. P. 56. The district court

        improperly disregarded these critical facts in favor of lumping all Plaintiffs and all

        claims together, painting them with a broad brush by accepting CSX’s self-serving

        statements and private system of “justice,” and thereby committing reversible error.

        IV.   THE EMPLOYEES SUFFERED PREJUDICE WHEN CSX FAILED
              TO PROVIDE THE MANDATORY NOTICE UNDER THE FMLA.

              A.     An Employer Shall Provide Written Notice.

              Referred to as the “Rights and Responsibilities Notice”, an employer “shall”

        provide written notice. The statute is clear that “[e]mployers shall provide written

        notice detailing the specific expectations and obligations of the employee and

        explaining the consequences of a failure to meet those obligations”. 29 CFR

        825.300(c)(1). When an employer fails to provide such notice, the consequences are

        set forth in section (e) that “[f]ailure to follow the notice requirements set forth in


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        this section may constitute an interference with, restraint, or denial of the exercise

        of an employee’s FMLA rights.”

                Importantly, the employer’s statutory duty to provide notice is not excused at

        the onset based upon a suspicion of potential misuse. Indeed, the certification

        process itself allows for an employer to question the basis for the leave in multiple

        ways.

                B.    The FMLA Certification Process Itself Allows An Employer To
                      Question Authentication, Seek Clarification, And A Second Opinion.

                First, the certification process itself would have dispelled any concern about

        the legitimacy of the leave because the employer can seek clarification and

        authentication:

                (a) Clarification and authentication. If an employee submits a complete
                and sufficient certification signed by the health care provider, the
                employer may not request additional information from the health care
                provider. However, the employer may contact the health care
                provider for purposes of clarification and authentication of the
                medical certification (whether initial certification or
                recertification) after the employer has given the employee an
                opportunity to cure any deficiencies as set forth in § 825.305(c).
                (emphasis added).

                29 CFR 825.307

                Additionally, if the employer has “reason to doubt the validity of a medical

        certification”, it may require the employee to get a second opinion.

                (b) Second opinion.




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              (1) An employer who has reason to doubt the validity of a medical
              certification may require the employee to obtain a second opinion at the
              employer’s expense.

        29 CFR 825.307.

              C.     An Employer’s Failure To Comply With The Notice Requirements Has
                     Consequences.

              In Vannoy v FRB of Richmond, 827 F.3d 296 (4th Cir. 2016), the Fourth Circuit

        reversed summary judgment on the FMLA interference claim because the

        employer’s notice did not comply with the regulatory requirements of 29 C.F.R.

        825.300(c)(iv). As stated by the Court:

              The FMLA requires that employers provide an individual, written
              notice to affected employees that an absence qualifies under the FMLA.
              See 29 CFR 825.300. There are two types of individualized notice that
              an employer must give an employee who may be entitled to FMLA
              leave: a “rights and responsibilities notice”, id. 825.300(c); and a
              “designation notice”, id 825.300(d).

              However, in this case, none of the employees were provided with any notice

        under the FMLA. If any of the employees were provided the FMLA medical

        certification form, the basis of the medical leave and reasons for it, would have been

        spelled out by the employee and healthcare provider to substantiate the leave.

        Instead, CSX relied solely upon the COII forms which they drafted and required the

        employees to complete.

              D.     The Plaintiffs Suffered Prejudice Without The Ability To Structure 6-
                     8 Weeks Of Leave Within The Protection Of The FMLA’s 12 Weeks.




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              The employees suffered prejudice by CSX not providing the required notice.

        Both the employees and their respective healthcare providers would have completed

        the medical certification form and establish a dialogue with the CSX medical

        department who in turn could establish the authenticity of the leave, request

        clarification or require a second opinion based upon any “reason to doubt the

        validity” of the either the certification form or the medical leave itself. Without the

        protections of the notice of rights and responsibilities, the employees were left in the

        process of the collective bargaining agreement which is ill-suited to enforce the

        medical leave and employment rights under the FMLA.

              The employees suffered prejudice both in the inability to submit a medical

        certification form under the FMLA which they did not have and as Jolanda

        Johnson’s admits were not provided training under the FMLA. Second, if the

        employees received the required notice, they could have restructured the leave in

        different segments for office visits and be aware their rights to reinstatement within

        twelve weeks. That is, the notice would have informed the employees that their

        restrictions of 6-8 weeks as estimated on the COII forms were within the twelve

        weeks of job protection and reinstatement under the FMLA. Last, any suspicions

        that Dr. Heligman entertained would have been explained or substantiated by the

        FMLA certification process including the employer’s ability to seek authentication,

        clarification or even a second opinion.



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              Instead, CSX bypassed the FMLA certification process for each of the

        individual employees in favor of an across-the-board suspicion which if upheld

        would gut the protections of the FMLA. In other words, if an employer does not

        have to follow the mandatory notice requirements under the FMLA, then any

        employer could seek protection of ill-motives under the guise of any honest

        suspicion.

              CSX cities to Crouch v Whirlpool Corp., 447 F.3d 984 (7th Cir. 2006) as

        comparable facts to the present case because the plaintiff in that case submitted an

        Accident and Sickness form in a suspicious manner related to requests for his

        fiancée’s vacation who also worked for the same company. However, in that case

        like many of the FMLA cases, the employer obtained evidence of misuse by hiring

        a private detective service. The surveillance from the detective service showed forty-

        eight minutes of doing yard work on a date for the claimed FMLA leave. This type

        of evidence may support suspicions of misuse and subsequent discipline.

               CSX in this case did not retain any detective serve or use its own police force

        to conduct surveillance of any of the suspected employees. In fact, Dr. Heligman

        testified that he did not have any reason to challenge of the veracity of the

        information on the COII forms submitted by the employees and their chiropractors:

              Q.     Is it correct to say for all of the plaintiffs in this case that you do
                     not have any reason to believe that their illnesses were not
                     legitimate as reported in the Certificate of Ongoing Illnesses?



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                     A.     That would be a correct statement.

        JA 2231.

              As such, CSX did not have any evidence to support any suspicions on the

        COII form itself. CSX does not have any evidence that the employees misused

        medical leave after submission of the COII forms- that otherwise would have been

        FMLA protected. To the extent that CSX relies upon Dr. Heligman’s testimony that

        the employees and chiropractors engaged in “subconscious” fraud, a jury should be

        permitted to weigh in on the credibility of this testimony.

                          CONCLUSION AND REQUEST FOR RELIEF

              For the foregoing reasons, Appellants request that the Court find that the

        district court erred in entering judgment against them as to each of the causes of

        action addressed. Accordingly, Appellants request that the Court vacate the

        judgment of the district court, and that the case be remanded for further proceedings.




              Submitted this 16th day of December 2022.

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        CERTIFICATE OF COMPLIANCE WITH FED. R. APP. PROC. 32(a)(7)(B)

              This brief complies with the type-volume limitation of Fed. R. App. P.

        32(a)(7)(B) because this brief contains 4393 words, excluding the parts of the brief

        exempted by Fed. R. App. P. 32(f).

        Dated: December 16, 2022.

        s/Jeff R. Dingwall
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                                   CERTIFICATE OF SERVICE

              I certify that on December 16, 2022, I electronically filed the foregoing with

        the Clerk of the Court of the United States Court of Appeals for the Fourth Circuit

        Circuit by using the CM/ECF system. I certify that all participants in the case are

        registered CM/ECF users and that service will be accomplished by the CM/ECF

        system.


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